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                                EXHIBIT 8
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                                  In The Matter Of:
          ALEKSEJ GUBAREV, XBT HOLDING SA and WEBZILLA, INC v.
                        BUZZFEED, INC and BEN SMITH




                                Mr Christopher Steele
                                   June 18, 2018




                                 Original File C Steele Deposition.txt
                              Min-U-Script® with Word Index
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    1                       Mr Christopher Steele

    2           CONFIDENTIAL - ATTORNEYS' EYES ONLY
               IN THE UNITED STATES DISTRICT COURT
    3              SOUTHERN DISTRICT OF FLORIDA
        ______________________________
    4                                  :
        ALEKSEJ GUBAREV, XBT HOLDING : Case No:
    5   SA and WEBZILLA, INC           : 17-cv-60426-UU
                                       :
    6                  Plaintiffs      :
                                       :
    7                  -v-             :
                                       :
    8   BUZZFEED, INC and BEN SMITH    :
                                       :
    9                  Defendants      :
        ______________________________:
   10
   11                       Videotaped deposition

   12                                    of

   13                       Mr Christopher Steele
   14

   15                    On Monday, June 18th 2018

   16
   17                       Commencing at 9.35 am

   18

   19                              Taken at:

   20                            15 Old Bailey

   21                                London

   22                              EC4M 7EF

   23                           United Kingdom

   24

   25   Reported by: Miss Pamela Henley

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    1                       Mr Christopher Steele

    2              Q.       And, again, just for the record,

    3   prior to receiving this unsolicited raw

    4   information had you ever heard of Aleksej Gubarev?

    5                       MR MILLAR:     Same objections.

    6              A.       Same answer.

    7   BY MR FRAY-WITZER:
    8              Q.       You have stated that you have

    9   considered that the unsolicited raw intelligence

   10   needed to be further analyzed and verified, so
   11   focussing your attention first on the time between

   12   when you received this information and when you

   13   included it in the December memo what steps did
   14   you take to independently verify the allegations

   15   concerning XBT?

   16                       MS EIKHOFF:      Object to form.
   17              A.       Could you clarify what you mean by,

   18   "independently verify"?

   19                       MR MILLAR:     I do not know what he

   20   means.

   21   BY MR FRAY-WITZER:

   22              Q.       Did you take any steps to verify

   23   the information concerning XBT?

   24              A.       I did.

   25              Q.       What steps were those?

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    1                       Mr Christopher Steele

    2              A.       I believe the only step I can

    3   describe within the bounds of the order is what we

    4   could call an open source search.

    5              Q.       What is an open source search?

    6              A.       It is where you go into the

    7   Internet and you access material that is available
    8   on the Internet that is of relevance or reference

    9   to the issue at hand or the person under

   10   consideration.
   11              Q.       So if I understand your testimony

   12   the extent of your attempts to verify information

   13   about XBT is that you did some Internet searches
   14   as to who or what XBT was, is that accurate?

   15              A.       It is not accurate.

   16              Q.       Please tell how that is not
   17   accurate.

   18              A.       It is not accurate because other

   19   efforts to verify relate to sources or sources

   20   and, therefore, are not allowed under the terms of

   21   the order.

   22              Q.       What can you tell us about any

   23   efforts that you made to verify allegations

   24   concerning Webzilla?

   25              A.       The same.     So open source searches.

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    1                       Mr Christopher Steele

    2              Q.       And what efforts did you make to

    3   verify the allegations concerning Mr Gubarev?

    4              A.       The same.

    5              Q.       What did you learn about XBT?

    6              A.       From the open source search?

    7              Q.       If that is what you are willing to
    8   tell us about.

    9              A.       We did not find anything of

   10   relevance on XBT from the open source search.
   11              Q.       Did you find anything of relevance

   12   concerning Webzilla?

   13              A.       We did.
   14              Q.       And what was that?

   15              A.       It is an article I have got here,

   16   which is -- was posted on 28 July 2009, on
   17   something called CNN iReport, which is -- I can

   18   circulate it if you like.

   19              Q.       What do you understand iReports to

   20   be on CNN?

   21              A.       I do not have any particular

   22   knowledge of that.

   23              Q.       Do you understand that they have no

   24   connection to any CNN reporters?

   25              A.       I do not.

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    1                       Mr Christopher Steele

    2                       THE VIDEOGRAPHER:       Back on the

    3   record at 10.43.

    4   BY MR FRAY-WITZER:

    5              Q.       Mr Steele, did you travel to Russia

    6   to verify any of the allegations contained in the

    7   December memo?
    8              A.       No.

    9              Q.       Have you traveled to Russia at any

   10   time since leaving the FCO?
   11              A.       Not since 2009.

   12              Q.       You describe the information

   13   contained in the December memo as raw
   14   intelligence, is that correct?

   15              A.       Yes.

   16              Q.       Tell us, please, what it means for
   17   something to be raw intelligence?

   18              A.       I would define it as information

   19   that is passed to you directly from a source.

   20   That source could be human.           Could be technical in

   21   its original form, and which, therefore, is

   22   pre-analysis, so it has not been analyzed as such.

   23   Does not mean it has not been looked at in terms

   24   of verification, but has not been fully analyzed.

   25           (Exhibit 6 marked for identification)

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    1                       Mr Christopher Steele

    2              Q.       Mr Simpson says, and, again,

    3   supposedly paraphrasing you:

    4                       "It is HUMIT, right?        It is human

    5   source information...         and humans sometimes lie,

    6   and more frequently they just get it wrong."

    7                       Did you say words to that effect to
    8   Mr Simpson?

    9                       MR MILLAR:     The objection is the

   10   same, it is not within topic 2.
   11                       MR FRAY-WITZER:       The response is

   12   the same.

   13                       THE EXAMINER:      My opinion is the
   14   same.    The witness can --

   15              A.       I am choosing not to answer again.

   16   BY MR FRAY-WITZER:
   17              Q.       In making efforts to verify the

   18   allegations about the plaintiffs contained in the

   19   December memo did you take into account the fact

   20   that raw intelligence might later prove to be

   21   incorrect or untrue?

   22                       MS EIKHOFF:      Object to form.

   23              A.       Yes.

   24   BY MR FRAY-WITZER:

   25              Q.       In making your efforts to verify

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    1                       Mr Christopher Steele

    2   the information contained in the December memo

    3   about the plaintiffs did you take into account the

    4   fact that raw intelligence might include

    5   deliberately false information?

    6              A.       Yes.

    7              Q.       In attempting to verify the
    8   information contained in the December memo

    9   concerning the plaintiffs did you take into

   10   account the possibility that a Russian business
   11   competitor might give false information in order

   12   to harm a competitor?

   13                       MS EIKHOFF:      Object to form.
   14                       MR MILLAR:     I am going to object to

   15   that on the basis that we are straying very near

   16   to increasing the existing risk of confidential
   17   intelligence sources being identified.

   18                       If the question could be rephrased

   19   in a way that does not require the witness to

   20   positively aver the status of his source that

   21   might avoid the problem.

   22                       THE EXAMINER:      US plaintiffs, do

   23   you want to reformulate?

   24                       MR FRAY-WITZER:       I am certainly

   25   happy to try.

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    1                       Mr Christopher Steele

    2    do you know if the December memo was provided to

    3    the Penn Quarter Group?

    4              A.       Not to my understanding, no.

    5                       THE EXAMINER:       It is actually

    6    nearly 10 to 12, and I have just been informed the

    7    tape is running low, could we take a 5-minute
    8    break for the sake of both recordings.

    9                       THE VIDEOGRAPHER:        This is the end

   10    of media 1 in the deposition of Christopher
   11    Steele. Going off the record at 11.39.

   12                           (Recess taken)

   13                       THE VIDEOGRAPHER:        This is the
   14    beginning of media 2 in the deposition of

   15    Christopher Steele.        Going on the record at 11.48.

   16    BY MR FRAY-WITZER:
   17              Q.       In providing the December memo to

   18    Fusion GPS did you give Fusion GPS any cautions or

   19    warnings concerning the nature of the information

   20    contained in the December memo?

   21                       MS EIKHOFF:      Objection.

   22              A.       I cannot remember precisely, but

   23    the memo would have been covered by the same

   24    caveats that all memos were covered by in the

   25    provision of them to Fusion.

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    1                       Mr Christopher Steele

    2    BY MR FRAY-WITZER:

    3              Q.       And what prior caveats had you

    4    given to Fusion that would apply to the December

    5    memo?

    6              A.       I cannot remember exact wording,

    7    but the standard wording is along the lines of
    8    this is material from human source or sources

    9    regarded as credible, and it is produced to the

   10    best of our knowledge and ability to be accurate
   11    and true.

   12              Q.       When you provided the December memo

   13    to Mr Simpson did you caution him that a central
   14    problem when you are a Russian intelligence expert

   15    is disinformation and the Russians have a long

   16    history and advanced capability in disinformation?
   17                       MS EIKHOFF:      Object to form.

   18                       MR MILLAR:      This is not covered by

   19    topics 3, 4 and 5.

   20                       THE EXAMINER:       US plaintiffs.

   21                       MR FRAY-WITZER:       This is about what

   22    was said during the provision of the memo to

   23    Fusion GPS.      It is precisely within the topics.

   24                       THE EXAMINER:       My opinion is that

   25    it is outside the topics which are provision, and

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    1                       Mr Christopher Steele

    2                       THE EXAMINER:       Well, I cannot see

    3    that there is a question within a question, do you

    4    object to this, Mr Millar?

    5                       MR MILLAR:      Well, I will withdraw

    6    the objection to this question.            I will listen for

    7    the next one.
    8                       MS EIKHOFF:      I do object to form.

    9                       THE EXAMINER:       Mr Steele, you can

   10    choose whether to answer, but the objection has
   11    been withdrawn.

   12              A.       Well, I will answer then.          2 points

   13    really, one, is that a general understanding
   14    existed between us and Fusion during this topic --

   15    during this project, that all material contained

   16    this risk, but that any information that was
   17    actually provided would have been subject to

   18    scrutiny in respect of this risk, and a warning,

   19    specific warning would have been issued had we

   20    believed that, as we would say, I think, the

   21    source was intending to influence as well as

   22    inform.    I think that covers the point.

   23                       The other point is that this memo

   24    was not for the consumption of Fusion or for their

   25    former client, it was for the consumption of

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    1

    2                       CERTIFICATE OF COURT REPORTER

    3

    4                       I, Pamela E Henley, Court Reporter,

    5    do hereby certify that I took the stenotype notes

    6    of the foregoing deposition and that the

    7    transcript thereof is a true and accurate record
    8    transcribed to the best of my skill and ability

    9                       I further certify that I am neither

   10    counsel for, related to, nor employed by any of
   11    the parties to the action in which this deposition

   12    was taken, and that I am not a relative or

   13    employee of any attorney or counsel employed by
   14    the parties hereto, nor financially or otherwise

   15    interested in the outcome of the action.

   16
   17

   18

   19

   20

   21

   22                      _______________________

   23                           Pamela E Henley

   24

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